        I   .




                            UN.ITED s·TATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT. OF NORTH CAROLINA
                                   WESTERN DIVISION
                                NO.   5:c.~-C\2 ... 02't~-\&0($)

UNITED STATES OF AMERICA                    )
                                            )
                v.                         .·)
                                            )       I N D I .C T M E N T
                                            )
JOSE CRUZ SOLANO-RODRIGUEZ                  )
                                            )


     The Grand Jury charges· that:

                                      COUNT ONE

     o~ or about July 30, :2016, in the Eastern District of North

Carolina, the defendant, JOSE CRUZ SOLANO-RODRIGUEZ, did knowingly

make· a false statement and cl~im that he was a citizen of the

United States in.order to register to vote~ in violation of Title

18, United States Code, ·section io;i.s(f).



                 [remainder of page intentionally left blank]




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                                  COUNT TWO
                      .   .
     On or   abou~   Novet11Per 8, 2b16,· in the   ~astern   District of North

Carolina, ·17he defendant,      JOSE .CRUZ SOLANO-:-RODRIGUEZ,      an alien,

knowing he was not a United       ~tates citi~en,     did knowingly   Vot~   in

an election held in part for the purpose of electing a. candidate

for the office of Pre·sident,
                    .         Vice President,            and Member .of the

House of R:epresentatives,'·in'violation of .Title 1.8-, United States

'Code, Section 611(a).



                                    A' TRUE BILL



                                    FOR PERSON



                                    DATE


ROBERT J. HIGDON, JR.
United States Attorney




BY: SEBASTIAN KIELMANOVICH
Assistant United States Attorney




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